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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE

VLADEK FILLER                                )
                                             )
               Plaintiff,                    )
v.                                           )       CIVIL ACTION
                                             )       CASE NO. 1:15-cv-00048-JAW
HANCOCK COUNTY, et al.,                      )
                                             )
                                             )
               Defendants                    )



     STIPULATION OF DISMISSAL WITH PREJUDICE PURSUANT TO 41(a)(1)(A)(ii)

        NOW COME all appearing parties in the above-captioned litigation and Stipulate to the

Dismissal of all claims with prejudice, and without costs, against Michael Povich, Carletta

Bassano, Mary Kellett and Paul Cavanaugh.



Dated: July 17, 2018                                 /s/ Thomas F. Hallett __________________
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Dated: July 17, 2018                                 /s/ Peter Marchesi ____________________
                                                     Peter Marchesi, Bar No. 6889
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Dated: July 17, 2018                     /s/ Jonathan Bolton ___________________
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Dated: July 17, 2018                     /s/ Frederick Costlow __________________
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Dated: July 17, 2018                     /s/ John Wall ________________________
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Dated: July 17, 2018                     /s/ Edward Benjamin __________________
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